Case 2:16-cv-03093-W.]I\/|-SC|\/| Document 38 Filed 01/27/17 Page 1 of 1 Page|D: 1719

UNITED STATES DISTRICT COURT FOR
THE DISTRICT OF NEW JERSEY

 

§ LAURI GoRDoN,
Plaintiff,
VS.
§BANK oF AMERICA, N.A.r
§ SERERUS, :Nc.; FEDERAL
§ NATIONAL MORTGAGE
§ ASSOCIATON; JoHN DoES :-X,

Defendants.

 

 

Civil Action No. 2:16~cV-O3093

SUBSTITUTION OF COUNSEL

Kindly Subetitute the appearance of Joshua W. Denbeaux,

Esq. of Denbeaux & Denbeaux in place of Adam Deutsch, ESq.

formerly of Denbeaux & Denbeaux, on behalf of Plaintiff,

Lauri Gordon, in the above-captioned matter.

Withdrawing Attorneys:
Adam Deutsch, ESq.

 

/S/ Adam Deutech
Adam Deutsch, ESq.
Northeast Law Group
PO Box 607l7
Longmeadow, MA OllO6

 

Dated: January 27, 2017

 

Superseding Attorneys:
Denbeaux & Denbeaux

/S/ Joshua W. Denbeaux
JoShua W. Denbeaux ESq.
Denbeaux & Denbeaux

366 Kinderkamack Road
Westwood, NJ 07675

 

Dated: January 27, 2017

 

